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                              UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

PNC BANK, N.A. COLUMBIA                                   §
HOUSING SLP CORPORATION, and                              §
2013 TRAVIS OAK CREEK, LP                                 §
                                                          §
         Plaintiffs,                                      §
                                                          §
v.                                                        §
                                                          §
2013 TRAVIS OAK CREEK GP, LLC,                            §
2013 TRAVIS OAK CREEK                                     §
DEVELOPER, INC.,                                          §
CHULA INVESTMENTS, LTD.,                                  §
and RENE O. CAMPOS                                        §
                                                          §
         Defendants.                                      §
-------------------------------------------------------       Civil Action No. 1:17-cv-584-RP-ML

2013 TRAVIS OAK CREEK GP, LLC                             §
and 2013 TRAVIS OAK CREEK, LP,                            §
                                                          §
         Plaintiffs,                                      §
                                                          §
v.                                                        §
                                                          §
PNC BANK, N.A. and COLUMBIA                               §
HOUSING SLP CORPORATION                                   §
                                                          §
         Defendants.                                      §


                 ORDER GRANTING MOTION FOR STATUS CONFERENCE

         Before the Court is the Motion for Status Conference filed by 2013 Travis Oak Creek GP,

LLC, 2013 Travis Oak Creek Developer, Inc., Chula Investments, Ltd., and Rene O. Campos.

The Court, having considered the Motion, is of the opinion that the Motion should be

GRANTED.

         Accordingly,




ORDER                                                                                              Page 1
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      IT IS ORDERED that a Status Conference is set for the ___ day of

__________________________, 2017.


      SIGNED on this ___ day of ____________, 2017.


                                       _______________________________________
                                       UNITED STATES DISTRICT JUDGE




ORDER                                                                       Page 2
